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         In the United States Court of Federal Claims
                                  Nos. 24-1107 C and 24-1108 C
                                       Filed: June 30, 2025

*************************************
MVM, INC. et al.,                   *
            Plaintiffs,             *
                                    *
        v.                          *                               JUDGMENT
                                    *
 THE UNITED STATES,                 *
             Defendant,             *
                                    *
        and                         *
                                    *
ACUITY INTERNATIONAL, LLC,          *
             Defendant-Intervenor.  *
*************************************

        Pursuant to the court’s Opinion and Order, filed June 30, 2025, granting defendant’s
motions to dismiss, and denying as moot all parties’ motions for judgment on the administrative
record,

      IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that the plaintiffs’
complaints are dismissed.



                                                                    Lisa L. Reyes
                                                                    Clerk of Court

                                                            By:     s/ Ashley Reams
                                                                    Deputy Clerk




 NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
 this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Effective December 1,
 2023, the appeals fee is $605.00.
